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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 JOHN DOE,                                     )
                                               )
              Plaintiff,                       )
                                               )          C.A. No. ___________________
 v.                                            )
                                               )          JURY TRIAL DEMANDED
 NEW CASTLE COUNTY,                            )
 HERBERT F. COATES in his individual           )
 capacity, and GARRETT C. KRATZER,             )
 in his individual capacity,                   )
                                               )
              Defendant.                       )

          PLAINTIFF’S MOTION FOR A PROTECTIVE ORDER TO FILE
      COMPLAINT AND PLAINTIFF’S EX PARTE MOTION FOR A PROTECTIVE
      ORDER TO FILE THE COMPLAINT UNDER A PSEUDONYM UNDER SEAL

         Plaintiff moves to file the following documents under seal: 1) the Ex Parte Motion for a

Protective Order to File the Complaint Under a Pseudonym, which includes as an exhibit the

unredacted Complaint and 2) the Complaint. See Doe v. Upper St. Clair Sch. Dist., 2008 U.S.

Dist. LEXIS 52919, at * (W.D. Pa. July 13, 2008); James v. Jacobson, 6 F.3d 233, 235 (4th Cir.

1993). The unredacted Complaint identifies the plaintiff by his given name and provides the

plaintiff’s personally identifying information and other confidential information such as his

protected health information as it relates to the Complaint.

                                            Background

         1.       This action involves allegations of sexual assault pertaining to John Doe (“Doe”),

and allegations that Doe suffered P.T.S.D. and anxiety due to the defendants’ conduct.

         2.       Doe was an employee for Defendant New Castle County from October 21, 2019,

until in or about June 2020. During that brief tenure, Doe was subjected to a number of incidents,

including sexual assault, by his co-workers.



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         3.    Doe filed a Charge of Discrimination with the U.S. Equal Employment Opportunity

Commission’s (“EEOC”) Philadelphia Office alleging a number of facts that constitute violations

of Title VII of the U.S. Code as well as the Americans With Disabilities Act, 42 U.S.C. §12101,

et seq. (“ADA”). On or about September 17, 2021, the EEOC granted him a Right to Sue Letter

(“RTS”). A lawsuit must be filed on or before December 16, 2021, to preserve the statute of

limitations on the Title VII and ADA claims.

         4.    In addition to the Title VII and ADA claims, however, Doe seeks to assert a number

of claims based upon Constitutional violations under 42 U.S.C. § 1983. Out of an abundance of

caution, Doe seeks to file all claims on or before October 21, 2019, which is the two-year

anniversary of his date of first employment with Defendant New Castle County.

                                               Facts

         5.    Doe, a heterosexual male, brings this action against his former employer alleging

that he was the victim of sexual misconduct imposed upon him in the workplace. At the time of

the events in question, Doe had been employed as a Trades Helper in the Plant

Operations/Treatment Division of the New Castle County Department of Public Works. Due to

the events set forth in the Complaint, Doe was assigned to work as Garrett Kratzer’s helper.

         6.    As part of the job, Doe was required to travel alone to various job sites with Kratzer.

All of the following actions were unprovoked and took place off-site from the public works

building. Some of the incidents occurred in a New Castle County vehicle. Kratzer caressed Doe’s

arm, another time he touched his chest. On January 14, 2020, Kratzer imposed upon Doe’s off-

site lunch and exercise break when he climbed onto Doe’s back and pushed his erect penis onto

Doe’s buttocks. Kratzer, on multiple occasions, told Doe: “I want to stick my dick in your ass and

cum all over your face.” On the final date that Doe worked with Kratzer, Kratzer had a fit of road



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rage while traveling in the New Castle County vehicle, including gathering up nuts and bolts to

throw at other motorists in traffic while yelling the N-word. During this trip, Kratzer said again “I

want to stick my dick in your ass and cum all over your face.”

         7.    Doe was assaulted by Kratzer, he feared for his safety, and he was humiliated by

Kratzer’s conduct. As a result, Doe was forced to leave employment with New Castle County. He

is a private citizen and does not hold public office. He volunteers as a firefighter and EMT in the

state of Delaware. He is currently attending school to advance his education.

         8.    Doe reported the matter to the New Castle County Police Department and the matter

was referred back to the New Castle County Human Resources department.                   It is Doe’s

understanding that all discussions regarding the details of this matter were kept confidential within

the Human Resources Department. Per applicable law, plaintiff filed a Charge of Discrimination

with the Equal Employment Opportunity Commission (“EEOC”) and requested that it be dual filed

with the Delaware Department of Labor Office of Anti-Discrimination. In addition, Doe has

discussed the matter with his attorneys, his pastor, and his medical provider; all of whom are

obligated to maintain confidentiality.

                                           Legal Standard

         9.    While the public has the right to access the court docket, that right is not absolute.

Fed. R. Civ. P. 5.2(d) states that “[t]he court may order that a filing be made under seal without

redaction. The court may later unseal the filing or order the person who made the filing to file a

redacted version for the public record.”

         10.   “The party seeking to seal any part of a judicial record bears the heavy burden of

showing that ‘the material is the kind of information that courts will protect’ and that ‘disclosure

will work a clearly defined and serious injury to the party seeking closure.’” Miller v. Indiana



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Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059,

1071 (3d Cir. 1984)); see also Goldstein v. Aetna Life Ins. Co., 2021 WL 372512, at *2 (D. Del.

Feb. 3, 2021). There is no statute or rule of civil procedure that defines the materials that the

court may take into consideration when evaluating a motion to seal. Peters v. University of

Pittsburgh, 2019 WL 109402, *2 (W.D. Penn. Jan. 4, 2019).

         11.   Simultaneously with this motion, the plaintiff has filed a separate motion seeking a

protective order to redact his name from pleadings and permit him to proceed under pseudonym.

The legal argument and factual basis for proceeding under a pseudonym are set forth in that

motion.

         12.    Relevant to this motion to file under seal is the nine-factor applicable balancing

test used to determine whether a plaintiff may proceed under pseudonym. Doe v. Provident Life

and Acc. Ins. Co., 176 F.R.D. 464, 467 (E.D. Pa. 1997). The first of those factors is: “(1) the extent

to which the identity of the litigant has been kept confidential”. Id.

         13.   As stated in paragraph 8 above, Plaintiff has otherwise maintained confidentiality

of the facts identified in the Complaint to the extent possible. Disclosures of the facts and his

identity were only made to his pastor, his attorneys, his employer, the police department, the

EEOC, and the Delaware Department of Labor Office of Anti-Discrimination. Permitting him to

file the Complaint under seal while the court considers his ex parte motion to proceed under

pseudonym is essential to plaintiff’s motion to proceed under pseudonym.

         14.    Plaintiff therefore meets the two-pronged test set forth by the Miller court. Here,

where there is a motion pending to permit him to proceed under pseudonym, Doe’s identity is the

kind of information the courts will protect and disclosure will cause a clearly defined and serious

injury to plaintiff in that it would negate his motion to proceed under pseudonym. Miller v. Indiana



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Hosp., 16 F.3d 549, 551 (3d Cir. 1994); see also EEOC v. ABM Indus., 249 F.R.D. 588, 592 (E.D.

Cal. 2008) (recognizing the procedural dilemma created by Fed. R. Civ. P. 10(a) to maintain

confidentiality of the plaintiff’s identity while seeking permission to proceed under pseudonym);

Doe v. Princeton University, 2019 WL 5587327 (D. N.J. Oct. 30, 2019) (finding this factor in

plaintiff’s favor because of his status as a victim of sexual assault); Doe v. Hartford Life & Acc.

Ins. Co., 237 F.R.D. 545, 550 (D. N.J. 2006) (permitting a plaintiff to maintain confidentiality of

his protected health information while continuing to pursue his claim under pseudonym)

         15.   Plaintiff John Doe simply requests that he be permitted to file his ex parte motion

to proceed under pseudonym along with an unredacted version of the Complaint for the court’s

consideration under seal.

         16.   Thus, the instant Motion should be granted.

         WHEREFORE Plaintiff John Doe respectfully requests this Court:

         A.    Grant Plaintiff’s Motion for a Protective Order to File Complaint and Plaintiff’s Ex

Parte Motion for a Protective Order to File the Complaint Under a Pseudonym Under Seal;

         B.    Enter an Order sealing the Plaintiff’s Ex Parte Motion for a Protective Order to File

the Complaint Under a Pseudonym; and

         C.    Enter an Order allowing Plaintiff to file an unredacted version of the Complaint

under seal as an exhibit to Plaintiff’s Ex Parte Motion for a Protective Order to File Complaint

Under Pseudonym;

         D.    Enter an Order allowing Plaintiff to file the unredacted version of the Complaint

under seal pending the court’s decision on Plaintiff’s Ex Parte Motion for a Protective Order to

File Complaint Under Pseudonym; and




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         E.   Grant such other relief as the Court deems appropriate.


 MURPHY & LANDON                                   JACOBS & CRUMPLAR, P.A.

   /s/ Lauren A. Cirrinicione                        /s/ Patrick C. Gallagher
 Lauren A. Cirrinicione, Esq. (DE Bar 5089)        Patrick C. Gallagher, Esq. (DE Bar 5170)
 1011 Centre Road, Suite 210                       750 Shipyard Drive, Suite 200
 Wilmington, DE 19805                              Wilmington, DE 19801
 (t) 302-472-8101                                  (t) 302-656-5445
 (f) 302-472-8135                                  (f) 302-656-5875
 lcirrinicione@msllaw.com                          pat@jcdelaw.com
 Attorney for Plaintiff                            Attorney for Plaintiff
 DATE: October 14, 2021                            DATE: October 14, 2021




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